
739 N.W.2d 607 (2007)
Rosia MITCHELL-CRENSHAW, Successor Personal Representative of the Estate of Floyd L. Mitchell, Deceased, Plaintiff-Appellee,
v.
Lonnie JOE, Jr., M.D., and Providence Hospital and Medical Center, Defendants, and
Bernard Kole, M.D., Defendant-Appellant.
Docket No. 130756. COA No. 263057.
Supreme Court of Michigan.
October 17, 2007.
By order of August 29, 2006, the application for leave to appeal the February 7, 2006 judgment of the Court of Appeals was held in abeyance pending the decision in Washington v. Sinai Hospital of Greater Detroit (Docket No. 130641). On order of the Court, the case having been decided on June 27, 2007, 478 Mich. 412, 733 N.W.2d 755 (2007), the application is again considered and, it appearing to this Court that the case of Braverman v. Garden City Hospital (Docket Nos. 134445-134446) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
